      Case 3:07-cv-05944-JST Document 4781 Filed 08/17/16 Page 1 of 4



 1   [Stipulating parties listed on signature page]

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                                UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
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11   IN RE CATHODE RAY TUBE (CRT)                     Master File No. 3:07-CV-05944-JST
     ANTITRUST LITIGATION                             MDL No. 1917
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     This Document Relates To:                        STIPULATION AND [PROPOSED]
                                                      ORDER REGARDING SCHEDULE
14                                                    FOR PRETRIAL DISCLOSURES FOR
     Sears, Roebuck and Co. and Kmart Corp. v. LG
15   Electronics, Inc., et al, Case No. 11-cv-05514   SEARS/KMART AND LG
                                                      ELECTRONICS
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                                                             Master File No. 3:07-CV-05944-JST
                STIPULATION AND [PROPOSED] ORDER REGARDING PRETRIAL DISCLOSURES
      Case 3:07-cv-05944-JST Document 4781 Filed 08/17/16 Page 2 of 4



 1           WHEREAS, Plaintiffs Sears, Roebuck and Co. and Kmart Corporation (“Plaintiffs”) are
 2   the only remaining plaintiffs in Case No. 11-cv-05514 (“Sears/Kmart case”);
 3           WHEREAS, LG Electronics, Inc. (“LGE”) is the only remaining defendant in the
 4   Sears/Kmart case;
 5           WHEREAS, the trial in the Sears/Kmart case is set for January 9, 2017, see ECF No.
 6   4658;
 7           WHEREAS, Plaintiffs and LGE have negotiated and agreed to a schedule governing
 8   pretrial disclosures;
 9           PURSUANT TO LOCAL RULE 7-12, PLAINTIFFS AND LGE, BY AND THROUGH
10   THEIR RESPECTIVE COUNSEL OF RECORD, HEREBY STIPULATE AS FOLLOWS:
11           1.      The parties agree to abide by the schedule governing pretrial disclosures that is
12   attached as Exhibit A to this stipulation. As noted in Footnote 3 of Exhibit A, LGE stipulates
13   only that the attached schedule applies to the jury trial. As part of its motion for bifurcation and
14   for a bench trial, see ECF No. 4759, LGE has proposed a separate schedule to govern bench
15   trial pretrial disclosures. Plaintiffs oppose any bifurcation of the trial proceedings and do not
16   consent to the bench trial schedule proposed by LGE.
17           2.      This stipulation shall not be introduced into evidence during the jury trial or read
18   to the jury during trial, and it shall not be relied on to support an entitlement to any relief not
19   expressly contemplated by the terms of this stipulation.
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                  STIPULATION AND [PROPOSED] ORDER REGARDING PRETRIAL DISCLOSURES
      Case 3:07-cv-05944-JST Document 4781 Filed 08/17/16 Page 3 of 4



 1   Dated: August 17, 2016                   Respectfully submitted,
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 3                                           MUNGER, TOLLES & OLSON LLP

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15                                           KENNY NACHWALTER, P.A.
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                                             Attorneys for Plaintiffs Sears, Roebuck and Co.
27                                           and Kmart Corp.
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 1              Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
 2   document has been obtained from each of the above signatories.
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11   It is so stipulated and agreed to by the parties.

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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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14                                                                   TES D      TC
     Dated: August 17, 2016                                        TA
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                                                            Honorable Jon S. Tigar
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                                                            United States District Judge




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